                 Case: 1:19-cv-08145 Document #: 7 Filed: 01/21/20 Page 1 of 1 PageID #:39
                 U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good standing of this
Court’s general bar or be granted leave to appear pro hac vice as provided for by Local Rules 83.12 through
83.14.

In the Matter of                                                     Case Number:     1:19-cv-8145
J.R. v. Board of Education of the City of Chicago, et al.
AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
(In the space below, enter the name of the party or parties being represented)
Board of Education of the City of Chicago

NAME (Type or print)
Kathryn Kohls
SIGNATURE (Use electronic signature if the appearance form is filed electronically)
s/ Kathryn Kohls
FIRM
Board of Education of the City of Chicago

STREET ADDRESS
1 N. Dearborn, Suite 900

CITY/STATE/ZIP

Chicago, IL 60602

ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS)                               TELEPHONE NUMBER
6306355                                                              773/553-1741

ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE? (Enter “Y” or “N”) N


ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE? (Enter “Y” or “N”) N


ARE YOU A MEMBER OF THIS COURT’S TRIAL BAR? (Enter “Y” or “N”) Y


IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY? (Enter “Y” or “N”) Y


IF THIS IS A CRIMINAL CASE, USE AN “X” TO DESCRIBE YOUR STATUS IN THIS CASE.

RETAINED COUNSEL                                  APPOINTED COUNSEL
